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                IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                         NO. 4:05CR00213-004 SWW

ARMIN COLLINS


                                    ORDER

      Defendant appeared before the Court on September 18, 2006, for a

change of plea hearing after being taken into custody previously by

Magistrate Judge John F. Forster, Jr. After such hearing, the Court found

that defendant should be released from custody.

      IT IS THEREFORE ORDERED that defendant be, and he hereby is,

released from custody immediately but shall be in home detention at the

home of his mother, Mary Collins, at 4201 W. 14th Street in Little Rock,

Arkansas.

      IT IS FURTHER ORDERED that defendant shall abide by the conditions

of release previously ordered with continued drug screening, report to

the Probation Office as directed and he shall not leave his residence

without permission of the Probation Office.

      Defendant shall execute bond papers again and is reminded that all

other conditions of release which were previously imposed shall remain

unchanged and in full force and effect.

      IT IS SO ORDERED this 19th day of September, 2006.


                                            /s/Susan Webber Wright

                                            UNITED STATES DISTRICT JUDGE
